Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 1 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 2 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 3 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 4 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 5 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 6 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 7 of 8
Case 17-60262-lrc   Doc 7   Filed 06/15/17 Entered 06/15/17 15:16:37   Desc Main
                             Document     Page 8 of 8
